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found admittedly belonged to both Mario andTamacha, (accrued from drug activity and a

settlement, respectfully).


       At this point, Sr. P.O. Rigby called the Syracuse Police Department. The search of

the 514 Marcellus Street address by Parole had concluded. (An affidavit from Sabeo was

obtained from Sabeo regarding his involvement-see CNYLEADS Dr#l6-405888)


The report further states that a Detective, with the Syracuse Police Department, a Sgt. A.

Llukaci was called and be in turn advised detectives William Summers (ID# 0409), and a

Sgt Detective D.P. Proud (ID# 0140), to respond to the 514 Marcellus Street address.


       Upon his arrival, Sgt. D. P. Proud stated that be spoke with Tamacha R. and that

she allegedly told him Mario Leslie told her that he keeps money at his mother's

apartment-although there is no affidavit on fle to attest to that assertion by the Det. Proud.


       Absent proof ofTamacha R. even making the statement that Mario Leslie bad

money at bis mother's apartment, further calls into question one or more of what, if any,

legal grounds or jurisdiction that the Syracuse Police Department had to even initiate a

warrant (request) and or conduct a subsequent search of Plaintiff's residence at 112

Fordham Rd. There wasn't any corroborating evidence or probable cause that would

substantiate a warrant to enter 112 Fordham Rd. Plaintiff's private residence.


       Plaintiff was present at the time Syracuse Police and Parole officer Mark Saben

arrived at her residence and was denied entrance even though there was no warrant

available at that time. Please note that the Plaintiff asserts that the Police also entered her

residence with the assistance ofl'.O. Mark Saben, who possessed PlaintifPs door key taken

from her son Mario prior to their actual possession of the warrant for 112 Fordham Rd.

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doesn't condone drug dealing or any other illegal act and he didn't live there. He had oo

legal residence there.


       Prior to issuing the warrant there was an obvious need for further investigalion of

the issue of jurisdiction. Plaintiff lhioks that the jurisdictfon issue wasn't legally regarded,

by the Syracuse Police nor the judge granting the warrant, thus violating Plaintif rs 41h

amendment rights.


       Right after the seizure, Plaintiff informed the District attorney's office, namely,

assistant district attorney Sean Chase, that the money didn't belong lo her son and that this

mooey was her savings toward a home that she wanted to purchase. Plaintiff produced tax

returns for the 1.ast 5 consecutive yea rs to attest to the fact that she legally possessed the

money.


       Knowing this, assistant district attorney Sean Chase slated to Plaintiff that bis office

would return the illegally seized money.


         Plaintiff also filled out a complaint form, within the fi rst weeks of this incident, to

complain about police conduct in Plaintifrs home and sought the immediate return of I.be

Plaintifrs money.

         Subsequently, the district attorney's office responded to the property release form

request, through a 3rd party (Feldman, Kramer & Monaco, P.C.).


         However, the property form documcot wasn't signed propel'!y-as if to avoid any

individual responsibility for the document; Please note, that the document admitted the

wbertabouts of the Plaintiff's property, ii revealed that the Plaintiff's legally possessed


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